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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                     FORT SMITH DIVISION

ROBBIE MARIE CHRISTMAS                                                                              PLAINTIFF

         v.                         CIVIL NO. 2:20-cv-02173-MEF

KILOLO KIJAKAZI 1, Acting Commissioner,
Social Security Administration                                                                      DEFENDANT

                                             FINAL JUDGMENT

         This cause is before the Court on the Plaintiff’s complaint for judicial review of an

unfavorable final decision of the Commissioner of the Social Security Administration regarding

her application for Disability Insurance Benefits. The parties have consented to entry of final

judgment by the United States Magistrate Judge under the provisions of 28 U.S.C. § 636(c), with

any appeal to the Court of Appeals for the Eighth Circuit. The Court, having reviewed the record,

the administrative transcript, the briefs of the parties, the applicable law, and oral argument having

been waived, finds as follows, to-wit:

         For the reasons announced by the Court on the record on December 3, 2021, the Court

finds that the decision of the Commissioner of Social Security is supported by substantial evidence,

and the same is hereby affirmed.

         IT IS SO ORDERED this the 3rd day of December 2021.


                                                      /s/ Mark E. Ford
                                                      HON. MARK E. FORD
                                                      CHIEF UNITED STATES MAGISTRATE JUDGE



1
  Kilolo Kijakazi became Acting Commissioner of the Social Security Administration on July 9, 2021. Pursuant
to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted as the defendant in this
suit. No further action needs to be taken to continue this suit by reason of the last sentence of section 205(g) of the
Social Security Act, 42 U.S.C. § 405(g).
